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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Peter Pilarski
                                           Plaintiff,
v.                                                       Case No.: 1:17−cv−08659
                                                         Honorable Rebecca R. Pallmeyer
Rent Recover of Better NOI LLC, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 20, 2019:


         MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion hearing held
on 2/20/2019. Plaintiff's amended motion: (1) to modify the certified class definition; and
(2) for leave to supplement his motion for summary judgment [75] is granted. Motion for
summary judgment to be filed by or on 2/28/2019, response to be filed by or on
3/14/2019; reply to be filed by or on 3/28/2019; sur−reply to be filed by or on 4/11/2019.
Ruling re−set to 5/1/2019 at 9:30 AM. Status hearing set for 3/19/2019 stricken. Motion
#72 is stricken as moot. Mailed notice. (etv, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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